









Affirmed and Opinion filed May 16, 2002









Affirmed and Opinion filed May 16, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-01-00563-CR

____________

&nbsp;

JORGE ALBERTO LOZANO, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 268th District Court

Fort Bend County, Texas

Trial
Court Cause No. 31,750

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

Appellant entered a plea of guilty to the offense of
aggravated assault.&nbsp; On November 29,
1999, the trial court placed appellant on deferred adjudication probation for
three years.&nbsp; On March 17, 2000, the
State moved to adjudicate guilt.&nbsp; On May
2, 2001, the trial court adjudicated appellant guilty of the offense of
aggravated assault and sentenced appellant to confinement for three years in
the Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.








Appellant's appointed counsel filed a brief in which he
concludes that the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18
L.Ed.2d 493 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response. &nbsp;As of this date, no pro se response has been
filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed May 16, 2002.

Panel consists of Justices Yates, Seymore, and Guzman.

Do not publish C Tex. R.
App. P. 47.3(b).





